     Case 4:20-cv-03664-YGR Document 495 Filed 03/16/22 Page 1 of 10



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19                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
20

21    CHASOM BROWN, WILLIAM BYATT,                      Case No.: 4:20-cv-03664-YGR-SVK
      JEREMY DAVIS, CHRISTOPHER
22    CASTILLO, and MONIQUE TRUJILLO                    PLAINTIFFS’ SUPPLEMENT IN
      individually and on behalf of all similarly       SUPPORT OF THEIR MOTION FOR
23    situated,                                         ORDER REQUIRING GOOGLE TO
                                                        SHOW CAUSE WHY IT SHOULD
24
                     Plaintiffs,                        NOT BE SANCTIONED FOR
25     vs.                                              DISCOVERY MISCONDUCT

26     GOOGLE LLC,                                       The Honorable Susan van Keulen
                                                         Courtroom 6 – 4th Floor
27                   Defendant.                          Date: April 21, 2022
28                                                  1
                  PLAINTIFFS’ SUPPLEMENT IN SUPPORT OF ORDER TO SHOW CAUSE MOTION
                                                         Case No. 4:20-cv-03664-YGR-SVK
     Case 4:20-cv-03664-YGR Document 495 Filed 03/16/22 Page 2 of 10




1                                            INTRODUCTION
2           Since Plaintiffs filed their motion for an order to show cause why Google should not be
3    sanctioned (Dkt. 430),
4                                                                        .1 Plaintiffs’ motion focused on
5    Google’s
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10          As confirmed in meet and confers with counsel for Google,
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25  Plaintiffs submit this supplement to give Google an opportunity to also address these issues as
   part of its response to Plaintiffs’ motion, due on March 30, 2022, pursuant to the parties’ stipulation
26 and proposed order (Dkt. 474), and so Google may be prepared to address them at the April
   evidentiary hearing.
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                  PLAINTIFFS’ SUPPLEMENT IN SUPPORT OF ORDER TO SHOW CAUSE MOTION
                                                         Case No. 4:20-cv-03664-YGR-SVK
Case 4:20-cv-03664-YGR Document 495 Filed 03/16/22 Page 3 of 10
Case 4:20-cv-03664-YGR Document 495 Filed 03/16/22 Page 4 of 10
Case 4:20-cv-03664-YGR Document 495 Filed 03/16/22 Page 5 of 10
     Case 4:20-cv-03664-YGR Document 495 Filed 03/16/22 Page 6 of 10




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17                                   SUPPLEMENTAL ANALYSIS
18          The Court’s November 12 Order was clear. Dkt. 331. Google was required to identify all
19 relevant logs and sources, i.e., “the tools to identify class members using Google’s data.” Dkt. 331

20 at 4. Google has not done so. And Google’s refusal to comply has created enormous inefficiencies

21 and prejudiced Plaintiffs’ ability to obtain and seek preservation of relevant discovery. Plaintiffs’

22 motion for an order to show cause was focused on the                                      But it now
23 appears that Google has also been

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27                                                             See Dkt. 430-21.
28                                                   6
                   PLAINTIFFS’ SUPPLEMENT IN SUPPORT OF ORDER TO SHOW CAUSE MOTION
                                                          Case No. 4:20-cv-03664-YGR-SVK
     Case 4:20-cv-03664-YGR Document 495 Filed 03/16/22 Page 7 of 10




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8                                         See Dkt. 430-1 ¶ 19.
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14                                                               On March 8, pursuant to this Court’s
15 order, Plaintiffs deposed Google employee Mandy Liu, as she is one of the employees

16                                          Ex. 4, Liu Tr. 15:2-8.
17

18                            Ex. 4, Liu Tr. 19:24-20:8.
19                                                                                 Ex. 4, Liu Tr. 41:23-
20 42:12.                                                                                            ¶ 28.
21                                                                         ¶ 28.
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25                                     Ex. 3, Sadowski Tr. 91:2-8.
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                                                        Case No. 4:20-cv-03664-YGR-SVK
     Case 4:20-cv-03664-YGR Document 495 Filed 03/16/22 Page 8 of 10




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2    ¶ 29.
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5                                                     Google chose not to do so, which has severely
6    prejudiced Plaintiffs.
7            Discovery is now closed. And yet Plaintiffs still do not have answers to multiple questions:
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13                                                                                              Had this
14 information been fully and timely disclosed, the parties could have had an informed discussion

15 about preservation to ensure that Google did not delete relevant data. Plaintiffs have now been

16 deprived of that opportunity and data.

17                                            CONCLUSION
18           Plaintiffs respectfully request that the Court consider these issues in connection with the
19 upcoming evidentiary hearing and thereafter issue appropriate sanctions against Google.

20

21 Dated: March 16, 2022                           BOIES SCHILLER FLEXNER LLP

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     Case 4:20-cv-03664-YGR Document 495 Filed 03/16/22 Page 9 of 10



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                                                      Case No. 4:20-cv-03664-YGR-SVK
     Case 4:20-cv-03664-YGR Document 495 Filed 03/16/22 Page 10 of 10



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                PLAINTIFFS’ SUPPLEMENT IN SUPPORT OF ORDER TO SHOW CAUSE MOTION
                                                       Case No. 4:20-cv-03664-YGR-SVK
